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IBM Security




Cost of a Data
Breach Report
2023
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                                    (MSSPs)




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01

Executive summary

The Cost of a Data Breach Report equips IT,                                                           The years mentioned in this report refer
                                                                                                      to the year the report was published,
risk management and security leaders with
                                                                                                      not necessarily the year of the breach.
quantifiable evidence to help them better manage                                                      The breaches studied took place across
their security investments, risk profile and strategic                                                16 countries and regions and in 17
                                                                                                      different industries.
decision-making processes. The 2023 edition
represents this report’s 18th consecutive year.                                                       Throughout this report, we’ll examine the
                                                                                                      root causes and both short-term and long-
This year’s research—conducted independently                                                          term consequences of data breaches. We’ll
                                                                                                      also explore the factors and technologies
by Ponemon Institute and sponsored, analyzed
                                                                                                      that enabled companies to limit losses—as
and published by IBM Security®—studied 553                                                            well as those that led to increased costs.
organizations impacted by data breaches that
occurred between March 2022 and March 2023.




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01                                       Executive summary




What’s new in the 2023 report
Each year, we continue to evolve the     – How breaches are identified: whether                             As the cost of a breach continues to
Cost of a Data Breach Report to match      by an organization’s own security teams,                         increase, this report delivers essential
new technologies, emerging tactics         another third party or the attacker                              insights to help security and IT teams
and recent events. For the first time,   – The impact of involving law enforcement                          better manage risk and limit potential
this year’s research explores:             in a ransomware attack                                           losses. The report is divided into five
                                         – The effect of ransomware playbooks                               major sections:
                                           and workflows
                                         – Specific costs associated with                                   – The executive summary with key findings
                                           regulatory fines                                                   and what’s new in the 2023 edition
                                         – If and how companies plan to increase                            – In-depth analysis on the complete
                                           security investment as a result of                                 findings, including breach costs by
                                           a breach                                                           geographic region and industry
                                         – The impact of the following mitigation                           – Security recommendations from
                                           strategies:                                                        IBM Security experts based on this
                                           • Threat intelligence                                              report’s results
                                           • Vulnerability and risk management                              – Demographics of organizations and
                                           • Attack surface management (ASM)                                  industry definitions
                                           • Managed security service providers                             – The study’s methodology, including how
                                             (MSSPs)                                                          costs were calculated




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                                            USD 4.45M
01
                                                                                                            Average total cost of a breach
                                                                                                            The average cost of a data breach reached an all-time high in 2023
                                                                                                            of USD 4.45 million. This represents a 2.3% increase from the 2022
                                                                                                            cost of USD 4.35 million. Taking a long-term view, the average cost has
                                                                                                            increased 15.3% from USD 3.86 million in the 2020 report.


Key findings
The key findings described here are based
on IBM Security analysis of research data
compiled by Ponemon Institute. Cost
amounts in this report are measured in
                                            51%                                                             Percentage of organizations planning to increase
                                                                                                            security investments as a result of a breach
                                                                                                            While data breach costs continued to rise, report participants
US dollars (USD).                                                                                           were almost equally split on whether they plan to increase security
                                                                                                            investments because of a data breach. The top areas identified
                                                                                                            for additional investments included incident response (IR)
                                                                                                            planning and testing, employee training, and threat detection
                                                                                                            and response technologies.




                                            USD 1.76M                                                       The effect of extensive security AI and automation
                                                                                                            on the financial impact of a breach
                                                                                                            Security AI and automation were shown to be important investments
                                                                                                            for reducing costs and minimizing time to identify and contain
                                                                                                            breaches. Organizations that used these capabilities extensively within
                                                                                                            their approach experienced, on average, a 108-day shorter time to
                                                                                                            identify and contain the breach. They also reported USD 1.76 million
                                                                                                            lower data breach costs compared to organizations that didn’t use
                                                                                                            security AI and automation capabilities.




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01                                           Executive summary




1 in 3                                       USD 470,000                                                        53.3%                                         82%
Number of breaches identified by an          Additional cost experienced by                                     Since 2020, healthcare data breach costs      The percentage of breaches that involved
organization’s own security teams or tools   organizations that didn’t involve law                              have increased 53.3%                          data stored in the cloud—public, private or
Only one-third of companies discovered       enforcement in a ransomware attack                                 The highly regulated healthcare industry      multiple environments
the data breach through their own security   This year’s research shows that excluding                          has seen a considerable rise in data breach   Cloud environments were frequent targets
teams, highlighting a need for better        law enforcement from ransomware                                    costs since 2020. For the 13th year in        for cyberattackers in 2023. Attackers often
threat detection. 67% of breaches were       incidents led to higher costs. While 63%                           a row, the healthcare industry reported       gained access to multiple environments,
reported by a benign third party or by the   of respondents said they involved law                              the most expensive data breaches, at an       with 39% of breaches spanning multiple
attackers themselves. When attackers         enforcement, the 37% that didn’t also                              average cost of USD 10.93 million.            environments and incurring a higher-than-
disclosed a breach, it cost organizations    paid 9.6% more and experienced a 33-day                                                                          average cost of USD 4.75 million.
nearly USD 1 million more compared to        longer breach lifecycle.
internal detection.




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01                                            Executive summary




USD 1.68M                                     USD 1.49M                                                          USD 1.44M                                 USD 1.02M
Cost savings from high levels of              Cost savings achieved by organizations                             Increase in data breach costs for         Average cost difference between
DevSecOps adoption                            with high levels of IR planning and testing                        organizations that had high levels of     breaches that took more than 200 days
Integrated security testing in the software   In addition to being a priority investment                         security system complexity                to find and resolve, and those that took
development process (DevSecOps) showed        for organizations, IR planning and testing                         Organizations that reported low or no     less than 200 days
sizable ROI in 2023. Organizations with       emerged as a highly effective tactic for                           security system complexity experienced    Time to identify and contain breaches—
high DevSecOps adoption saved USD             containing the cost of a data breach.                              an average data breach cost of USD 3.84   known as the breach lifecycle—continues
1.68 million compared to those with           Organizations with high levels of IR                               million in 2023. Those with high levels   to be integral to the overall financial
low or no adoption. Compared to other         planning and testing saved USD 1.49                                of security system complexity reported    impact. Breaches with identification and
cost-mitigating factors, DevSecOps            million compared to those with low levels.                         an average cost of USD 5.28 million,      containment times under 200 days cost
demonstrated the largest cost savings.                                                                           representing an increase of 31.6%.        organizations USD 3.93 million. Those
                                                                                                                                                           over 200 days cost USD 4.95 million—a
                                                                                                                                                           difference of 23%.




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02

Complete findings

In this section, we provide the detailed findings of
this report across 18 themes. Topics are presented
in the following order:

– Global highlights
– Initial attack vectors
– Identifying attacks
– Data breach lifecycle
– Key cost factors
– Ransomware and destructive attacks
– Business partner supply chain attacks
– Software supply chain attacks
– Regulatory environments
– Cloud breaches
– Mega breaches
– Security investments
– Security AI and automation
– Incident response
– Threat intelligence
– Vulnerability and risk management
– Attack surface management
– Managed security service providers




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02   Complete findings




     Global highlights
     The Cost of a Data Breach Report
     provides a global picture of the cost of
     data breaches, built using data from over
                                                                                                          USD 4.45M
                                                                                                          Global average total cost of a data breach
     553 breaches in 16 different countries
     and taking into account hundreds of cost
     factors. This section examines critical
     metrics at the level of global average.
     We also explore the average per-record
     comparative costs between countries
     and industries.
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                                                                                                                                                     Total cost of a data breach


                                                                                                                                                     $5.00
                                                                                                                                                                                                                   $4.35   $4.45
                                                                                                                                                     $4.50                                                 $4.24
                                                                                                                                                                            $3.86         $3.92    $3.86
                                                                                                                                                     $4.00
                                                                                                                                                               $3.62
Figure 1. The cost of a data breach            Figure 2. Per-record cost of a data breach
                                                                                                                                                     $3.50
climbed to a new high.                         also reached a new high.
                                                                                                                                                     $3.00
Globally, the average cost of a data breach    In 2023, the average cost per record
rose to USD 4.45 million, a USD 100,000        involved in a data breach was USD 165, a                                                              $2.50
                                                                                                                                                               2017         2018          2019     2020    2021    2022    2023
increase from 2022. This represents a          small increase from the 2022 average of
2.3% increase from the 2022 average cost       USD 164. This matches the relatively small
of USD 4.35 million. Since 2020, when the      growth from 2021 to 2022, where the cost                                                              Figure 1. Measured in USD millions
average total cost of a data breach was        rose by just USD 3. In the last seven years,
USD 3.86 million, the average total cost has   the largest increase in average per-record
increased 15.3%.                               costs was between 2020 and 2021, when
                                               the average rose from USD 146 to USD 161
                                                                                                                                                     Per-record cost of a data breach
                                               or 10.3%. This study examined breaches
                                               sized between 2,200 and 102,000 records.1
                                                                                                                                                     $170
                                                                                                                                                                                                                   $164    $165
                                                                                                                                                     $165
                                                                                                                                                                                                           $161
                                                                                                                                                     $160

                                                                                                                                                     $155
                                                                                                                                                                                          $150
                                                                                                                                                     $150                  $148
                                                                                                                                                                                                  $146
                                                                                                                                                     $145
                                                                                                                                                               $141
                                                                                                                                                     $140

                                                                                                                                                     $135
                                                                                                                                                               2017        2018           2019     2020    2021    2022    2023



                                                                                                                                                     Figure 2. Measured in USD




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Figure 3. For the 13th consecutive year,                                                                             Of this year’s top five, Japan is the only      In Canada, the average total cost of a data
                                                     2023                    2022
the United States held the title for the                                                                             country that didn’t appear on the 2022 top      breach decreased from USD 5.64 million
highest data breach costs.                                                                                           five list, moving up from the number 6 most     to USD 5.13 million or 9%. The average
                                             1       United States           United States
The top five countries or regions with the           USD 9.48 million        USD 9.44 million
                                                                                                                     expensive spot last year. The top 5 list last   cost also decreased in Germany, dropping
highest average cost of a data breach saw                                                                            year also included the United Kingdom (UK)      from USD 4.85 million to USD 4.67 million
considerable changes from 2022.                                                                                      at an average data breach cost of USD 5.05      or 3.7%. Japan saw the average drop
                                             2       Middle East             Middle East
                                                     USD 8.07 million        USD 7.46 million
                                                                                                                     million. This year, the UK saw a significant    slightly, from USD 4.57 million to USD 4.52
                                                                                                                     drop in average cost at USD 4.21 million—       million or 1.1%.
                                                                                                                     down 16.6% from last year—resulting in
                                             3       Canada                  Canada
                                                                                                                     placement just outside of the top five.
                                                     USD 5.13 million        USD 5.64 million

                                                                                                                     The United States again had the highest
                                             4       Germany                 United Kingdom                          average total cost of a data breach at USD
                                                     USD 4.67 million        USD 5.05 million
                                                                                                                     9.48 million, an increase of 0.4% from
                                                                                                                     last year’s USD 9.44 million. Like last year,
                                             5       Japan                   Germany                                 the Middle East had the second-highest
                                                     USD 4.52 million        USD 4.85 million
                                                                                                                     average total cost of a data breach at
                                                                                                                     USD 8.07 million, up 8.2% from USD
                                                                                                                     7.46 million.




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     #1
     United States
                                                      Cost of a data breach by country or region
     2023 $9.48 ↑
                                                      Figure 3. Measured in USD millions
     2022 $9.44




                     #2
                     Middle East
                     2023 $8.07 ↑
                     2022 $7.46




                        #3
                        Canada
                        2023 $5.13 ↓
                        2022 $5.64     #4             #5
                                       Germany                       #6
                                                      Japan
                                       2023 $4.67 ↓                  United
                                                      2023 $4.52 ↓   Kingdom         #7
                                       2022 $4.85     2022 $4.57     2023 $4.21 ↓    France             #8
                                                                     2022 $5.05      2023 $4.08 ↓       Italy              #9
                                                                                     2022 $4.34         2023 $3.86 ↑       Latin America      #10
                                                                                                        2022 $3.74         2023 $3.69 ↑       South Korea
                                                                                                                           2022 $2.80         2023 $3.48 ↓       #11
                                                                                                                                              2022 $3.57         ASEAN 2        #12
                                                                                                                                                                 2023 $3.05 ↑   South Africa   #13
                                                                                                                                                                 2022 $2.87     2023 $2.79 ↓   Australia
                                                                                                                                                                                2022 $3.36     2023 $2.70 ↓
                                                                                                                                                                                               2022 $2.92     #14
                                                                                                                                                                                                              India          #15
                                                                                                                                                                                                              2023 $2.18 ↓   Scandinavia
                                                                                                                                                                                                              2022 $2.32     2023 $1.91 ↓
                                                                                                                                                                                                                             2022 $2.08
                                                                                                                                                                                                                                            #16
                                                                                                                                                                                                                                            Brazil
                                                                                                                                                                                                                                            2023 $1.22 ↓
                                                                                                                                                                                                                                            2022 $1.38
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                                                                                                                                Cost of a data breach by industry


                                                                                                                                          Healthcare                                                                                                $10.93
                                                                                                                                                                                                                                           $10.10

                                                                                                                                            Financial                                                    $5.90
                                                                                                                                                                                                         $5.97

Figure 4. Across industries, healthcare        top five while the industrial sector was                                              Pharmaceuticals                                            $4.82
                                                                                                                                                                                                 $5.01
reported the highest costs for the 13th        added, showing a 5.8% increase as it                                                                                                            $4.78
                                                                                                                                               Energy
year in a row.                                 moved from the seventh-highest to the                                                                                                           $4.72
                                                                                                                                                                                              $4.73
Healthcare continues to experience the         fifth. According to IBM threat intelligence,                                                 Industrial
                                                                                                                                                                                            $4.47
highest data breach costs of all industries,   manufacturing is the industry most                                                                                                              $4.66
                                                                                                                                          Technology
increasing from USD 10.10 million in 2022      commonly targeted by cybercriminals.                                                                                                              $4.97
                                                                                                                                                                                            $4.47
to USD 10.93 million in 2023—an increase                                                                                        Professional services
                                                                                                                                                                                              $4.70
of 8.2%. Over the past three years, the
                                                       2023                     2022                                                   Transportation                                    $4.18
average cost of a data breach in healthcare                                                                                                                                         $3.59
                                                                                                                                                                                      $3.90
has grown 53.3%, increasing more than                                                                                               Communications
                                                                                                                                                                                    $3.62
USD 3 million compared to the average cost     1       Healthcare               Healthcare                                                                                            $3.80
                                                                                                                                           Consumer
of USD 7.13 million in 2020. Healthcare                USD 10.93 million        USD 10.10 million                                                                                     $3.86
                                                                                                                                                                                     $3.65
faces high levels of industry regulation                                                                                                   Education
                                                                                                                                                                                      $3.86
and is considered critical infrastructure by   2       Financial                Financial
                                                                                                                                            Research                                $3.63
the US government. Since the start of the              USD 5.90 million         USD 5.97 million                                                                                      $3.88
                                                                                                                                                                                    $3.62
COVID-19 pandemic, the industry has seen                                                                                               Entertainment
                                                                                                                                                                                     $3.83
notably higher average data breach costs.      3       Pharmaceuticals          Pharmaceuticals                                                Media                               $3.58
                                                       USD 4.82 million         USD 5.01 million                                                                                $3.15
                                                                                                                                                                                  $3.36
The top five most costly industries                                                                                                        Hospitality
                                                                                                                                                                               $2.94
underwent some changes from last year’s        4       Energy                   Technology                                                      Retail                         $2.96
                                                                                                                                                                                  $3.28
rankings. Technology dropped out of the                USD 4.78 million         USD 4.97 million
                                                                                                                                        Public sector                       $2.60
                                                                                                                                                                        $2.07
                                               5       Industrial               Energy                                                              $0.00   $1.00   $2.00   $3.00   $4.00     $5.00    $6.00   $7.00   $8.00   $9.00   $10.00 $11.00
                                                       USD 4.73 million         USD 4.72 million
                                                                                                                                   2023         2022



                                                                                                                                Figure 4. Measured in USD millions

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Figure 5. Mean times to identify               In 2022, it took organizations 207 days
and contain breaches stayed roughly            to identify a breach. In 2023, it took only
                                                                                                                                                           Time to identify and contain the breach
the same.                                      204 days. On the other hand, organizations
Compared to 2022, both the mean time           required an average of 73 days to contain
to identify (MTTI) and the mean time to        breaches in 2023, while they required                                                                        2023                     204                        73         277
contain (MTTC) breaches saw only marginal      just 70 days on average in 2022. The
                                                                                                                                                            2022
changes. Mean time to identify refers to       highest mean times to contain and identify                                                                                            207                         70        277

the time it takes an organization to uncover   breaches both occurred in 2021, at 212                                                                       2021                     212                          75       287
a security breach. Mean time to contain        and 75 days, respectively.
                                                                                                                                                            2020                     207                         73        280
refers to the time required to resolve a
security breach once it has been identified.                                                                                                                2019                     206                         73        279

                                                                                                                                                            2018                    197                     69             266

                                                                                                                                                            2017                   191                     66              257

                                                                                                                                                                   0         50     100        150   200             250   300

                                                                                                                                                              MTTI       MTTC




                                                                                                                                                     Figure 5. Measured in days




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Figure 6. Lost business costs hit a           The other key cost segments of a data
five-year low.                                breach—lost business cost, post-breach
                                                                                                                         Cost of a data breach divided into four cost segments
Last year’s report saw detection and          response and notification—also saw
escalation costs rise to become the           changes compared to 2022. Lost business
costliest category of data breach expenses,   costs dropped 8.5%, from USD 1.42                                                                                                                                    $0.31   $0.37
                                                                                                                         $4.50                                                                  $0.27
indicating a shift toward longer and more-    million in 2022 to USD 1.30 million in
                                                                                                                                  $0.16             $0.21                 $0.24
complex breach investigations. The trend      2023. Lost business costs include activities                               $4.00
                                                                                                                                                                                                                           $1.20
                                                                                                                                                                                                                   $1.18
continued this year as detection and          such as business disruptions and revenue                                   $3.50
                                                                                                                                                                                                $1.14
                                                                                                                                  $1.02             $1.07                 $0.99
escalation costs remained in the top spot     losses from system downtime, the cost
                                                                                                                         $3.00
and rose from USD 1.44 million to USD 1.58    of lost customers and acquiring new
                                                                                                                                                                                                                   $1.44   $1.58
million, demonstrating a change of USD        customers, and reputation losses and                                       $2.50    $1.23             $1.22                 $1.11
                                                                                                                                                                                                $1.24

140,000 or 9.7%. Detection and escalation     diminished goodwill.
                                                                                                                         $2.00
costs include activities that enable a
company to reasonably detect a breach         Notably, the notification cost segment rose                                $1.50
                                                                                                                                  $1.45             $1.42                 $1.52                 $1.59              $1.42
and can include forensic and investigative    from USD 310,000 in 2022 to USD 370,000                                    $1.00                                                                                             $1.30
activities, assessment and audit services,    in 2023, which represents a 19.4%
                                                                                                                         $0.50
crisis management, and communications         increase. Post-breach response costs rose
to executives and boards.                     by just USD 20,000. Notification costs                                     $0.00
                                                                                                                                  2018              2019                   2020                 2021                2022   2023
                                              include activities that enable the company
                                                                                                                            Lost business cost      Detection and escalation      Post-breach response   Notification
                                              to notify data subjects, data protection
                                              regulators and other third parties.


                                                                                                                 Figure 6. Measured in USD millions




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Figure 7. Smaller organizations faced     saw an increase of 21.4%, from USD 2.71
considerably higher data breach costs     million to USD 3.29 million. In the 1,001–
                                                                                                                      Cost of a data breach by head count
than last year.                           5,000 employee range, the average cost of a
In 2023, organizations with more than     data breach increased from USD 4.06 million
5,000 employees saw the average cost      to USD 4.87 million, rising nearly 20%.                                     $6.00                                                                                                                         $5.69
                                                                                                                                                                                                                        $5.47 $5.56 $5.46
of a data breach decrease compared to                                                                                                                                                                                                       $5.28
                                                                                                                                                                                                                                                            $5.42
                                                                                                                                                                                                  $5.10 $5.18
2022. On the other hand, those with       In the 10,001–25,000 range, respondents                                     $5.00                                                               $4.87

5,000 or fewer employees saw              reported an average cost of USD 5.46                                                                                                                                  $4.33
                                                                                                                                                                            $4.05 $4.06
considerable increases in the average     million, a decrease of 1.8% from 2022’s                                     $4.00
cost of a data breach.                    figure of USD 5.56 million. Organizations                                                           $3.31                 $3.29
                                                                                                                                $2.95 $2.92
                                          with more than 25,000 employees saw the                                     $3.00
                                                                                                                                                      $2.61 $2.71
Organizations with fewer than 500         average cost drop from USD 5.56 million
                                                                                                                      $2.00
employees reported that the average       in 2022 to USD 5.42 million in 2023, a
impact of a data breach increased from    decrease of USD 140,000 or 2.5%.
                                                                                                                      $1.00
USD 2.92 million to USD 3.31 million or
13.4%. Those with 500–1,000 employees
                                                                                                                      $0.00
                                                                                                                                Fewer than 500          500–1,000            1,001–5,000          5,001–10,000          10,001–25,000       More than 25,000
                                                                                                                                  employees             employees             employees             employees             employees            employees

                                                                                                                         2021         2022            2023




                                                                                                             Figure 7. Measured in USD millions




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                                            Figure 8. Most organizations continue
                                            to increase the prices of services and
      Did the data breach result in your
      organization increasing the cost of
                                            products as a result of a data breach.
      services and products?                The majority (57%) of respondents
                                            indicated that data breaches led to an
                                            increase in the pricing of their business
                                            offerings, passing on costs to consumers.
                                            This finding is similar to our 2022 report,
                                            where 60% of respondents said they
                                            increased prices.
          No
         43%

                                  Yes
                                  57%




Figure 8. Share of total sample
of breached organizations




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                                                                                                                                                  Type of data compromised


                                                                                                                                                                                                                                                     52%
                                                                                                                                                               Customer PII                                                                   47%
                                                                                                                                                                                                                                           44%
                                                                                                                                                                                                                                     40%
                                                                                                                                                               Employee PII                                                  34%
                                                                                                                                                                                                                    26%
                                                                                                                                                                                                                              34%
Figures 9a and 9b. Customer PII was          customer PII. This is an increase of five                                                                  Intellectual property                                              31%
                                                                                                                                                                                                                     27%
the costliest—and most common—record         percentage points from 2022, when                                                                                                                                      26%
compromised.                                 customer PII accounted for 47% of all data                                                                                                                                     33%
                                                                                                                                                                                                                      28%
Of all record types, customer and employee   compromised. The second-most commonly
                                                                                                                                                                                                              21%
personal identifiable information (PII)      compromised data type was employee                                                                         Other corporate data                           15%
                                                                                                                                                                                                    12%
was the costliest to have compromised.       PII at 40%. Compromised employee PII
In 2023, customer PII such as names and      has seen sizable growth from 2021,                                                                                                 0%            10%       20%          30%       40%           50%           60%

Social Security numbers cost organizations   when it only accounted for 26% of all                                                                   2023        2022           2021
USD 183 per record, with employee PII        records compromised.
close behind at USD 181 per record.
                                                                                                                                                  Figure 9a. More than one response permitted
The least expensive record type to have      Compromised intellectual property grew
compromised is anonymized customer           three percentage points since 2022, while
data, which cost organizations USD 138 per   anonymized (non-PII) data dropped seven
record in 2023.                              percentage points from 2022—decreasing
                                             from 33% to 26%. Other corporate                                                                     Per-record cost of a data breach by type of record compromised
As was the case in 2022 and 2021,            data, such as financial information and
customer PII was the most commonly           client lists, increased from 15% of data
breached record type in 2023. 52%            compromised in 2022 to 21% in 2023.                                                                                        Customer PII                                                                  $183
of all breaches involved some form of
                                                                                                                                                                        Employee PII                                                                  $181

                                                                                                                                                                 Other corporate data                                                              $168

                                                                                                                                                                 Intellectual property                                                        $156

                                                                                                                                                  Anonymized customer data (non-PII)                                                   $138

                                                                                                                                                                                         $0           $40           $80       $120          $160           $200



                                                                                                                                                  Figure 9b. Measured in USD


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     Initial attack vectors
     This section examines the initial attack
     vector identified for data breaches in
     the study and its impact on the breach
     cost and timeline. It identifies the most
     common root causes for data breaches in
     the report and compares the average cost



                                                                        16%
     of breaches for each category as well as
     the average time to identify and contain
     those breaches. Phishing and stolen or
     compromised credentials were the two
                                                                         Percentage of breaches in which
     most prevalent attack vectors in this year’s
                                                                         phishing was the initial attack vector
     report, and both also ranked among the top
     four costliest incident types.




                                                                                                                  USD 4.90M
                                                                                                                  Average cost of a data breach with a malicious
                                                                                                                  insider initial attack vector




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                                                                                                                  Cost and frequency of a data breach by initial attack vector
Figure 10. Phishing and stolen or              Although relatively rare at 6% of
compromised credentials were the two           occurrences, attacks initiated by malicious
                                                                                                                   $5.00
most common initial attack vectors.            insiders were the costliest, at an average
Phishing and stolen or compromised             of USD 4.90 million, which is 9.6% higher                                               Malicious insider
credentials were responsible for 16%           than the global average cost of USD 4.45                                                     $4.90

and 15% of breaches, respectively, with        million per data breach. Phishing was                               $4.70                                                                                                  Phishing
                                                                                                                                  Accidental data loss or lost                                                             $4.76
phishing moving into the lead spot by          the most prevalent attack vector and                                                    or stolen device
                                                                                                                                                                      Business email
                                                                                                                                                                        compromise                          Stolen or compromised
a small margin over stolen credentials,        the second most expensive at USD 4.76                                                        $4.46                         $4.67                                   credentials
                                                                                                                                                                 Social
which was the most common vector in            million. Breaches attributed to system error                        $4.40
                                                                                                                                                             engineering                                             $4.62
                                                                                                                                                               $4.55                   Unknown (zero-day)
the 2022 report. Cloud misconfiguration        were the least costly, at an average of USD                                            Known unpatched                                     vulnerability
                                                                                                                                        vulnerability
was identified as the initial vector for 11%   3.96 million, and the least common, at 5%                                                   $4.17
                                                                                                                                                                                             $4.45

of attacks, followed by business email         of occurrences.
                                                                                                                   $4.10
compromise at 9%. This year, for the first
                                                                                                                                                           Physical security
time, the report examined both zero-day                                                                                                                      compromise
                                                                                                                                                                $4.10                       Cloud
(unknown) vulnerabilities as well as known,                                                                                     System error
                                                                                                                                                                                        misconfiguration
                                                                                                                                   $3.96
unpatched vulnerabilities as the source                                                                            $3.80                                                                     $4.00

of the data breach and found that more
than 5% of the breaches studied originated
from known vulnerabilities that had yet
                                                                                                                   $3.50
to be patched.                                                                                                             4%                  6%                 8%               10%                12%   14%             16%      18%



                                                                                                                  Figure 10. Measured in USD millions




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     Figure 11. Breaches that initiated with
     stolen or compromised credentials
                                                                                Time to identify and contain a data breach by initial attack vector
     and malicious insiders took the longest
     to resolve.
     This year, it took nearly 11 months (328                                           Stolen or compromised credentials                       240                                    88         328
     days) to identify and contain data breaches
                                                                                                            Malicious insider                  228                                80              308
     resulting from stolen or compromised
     credentials, on average, and about 10                                                                 Social engineering                  218                           80                   298

     months (308 days) to resolve breaches                                                                          Phishing               217                               76                   293
     that were initiated by a malicious insider.
                                                                                Accidental data loss or lost or stolen device             205                           78                        283
     Those two vectors, along with phishing
     and business email compromise, were also                                             Unknown (zero-day) vulnerability                195                          77                         272

     responsible for the costliest breaches.                                                  Physical security compromise                198                          69                         267

                                                                                               Business email compromise                  194                      72                             266
     As a point of comparison, the overall mean
                                                                                                    Cloud misconfiguration               190                      68                              258
     time to identify and contain a data breach
     was 277 days or just over nine months.                                                  Known unpatched vulnerability               183                      70                              253
     That figure has remained relatively constant                                                               System error             180                 56                                   236
     over the past few years of the report.
                                                                                                                                0   50    100         150   200             250             300    350

                                                                                   MTTI         MTTC




                                                                        Figure 11. Measured in days




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     Identifying attacks
     This section looks at how breaches
     were identified and the differences in
     cost and containment time based on
                                                                                                            33%
                                                                                                            Only one-third of breaches
     the identification method, analyses that                                                               were identified by the
     are reported for the first time this year.                                                             organizations’ internal
     There are three categories that define                                                                 security teams and tools
     how breaches are identified: by an
     organization’s internal security teams and
     tools, including managed security service
     providers (MSSPs); by a benign third
     party, such as a security researcher or law
     enforcement; and by disclosure from the
     attacker, as in the case of ransomware.




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                                                                                                                                                    How was the breach identified?



                                                                                                                                                            By a benign third party                                              40%

Figure 12. Breaches were most commonly        Figure 13. Data breaches disclosed by the                                                                      By the organization’s
                                                                                                                                                                                                                        33%
identified by a benign third party.           attacker, such as with ransomware, cost                                                                     security teams and tools

40% of breaches were identified by a          significantly more.
                                                                                                                                                    By disclosure from the attacker                               27%
benign third party or outsider, whereas       Attacks disclosed by attackers had an
33% of breaches were identified by internal   average cost of USD 5.23 million, which                                                                                                 0%   5%    10% 15% 20% 25% 30% 35% 40% 45%
teams and tools. Over one-quarter or 27%      was a 19.5% or USD 930,000 difference
of breaches were disclosed by the attacker    over the average cost of breaches identified
                                                                                                                                                    Figure 12. Only one response permitted
as part of a ransomware attack.               through internal security teams or tools of
                                              USD 4.30 million. Additionally, breaches
                                              disclosed by attackers cost 16.1% or USD
                                              780,000 more than the USD 4.45 million
                                              average cost of a data breach for 2023.
                                                                                                                                                    Cost of a data breach by how the breach was identified
                                              Breaches identified by an organization’s
                                              own security teams and tools were
                                              significantly less expensive, costing nearly
                                                                                                                                                            By a benign third party                                                    $4.68
                                              USD 1 million less than incidents disclosed
                                              by the attacker.
                                                                                                                                                                                                                                 $4.30


                                                                                                                                                    By disclosure from the attacker                                                            $5.23


                                                                                                                                                                                  $0.00         $1.00   $2.00   $3.00    $4.00      $5.00          $6.00



                                                                                                                                                    Figure 13. Measured in USD millions




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     Figure 14. Data breaches disclosed by
     the attacker also took the longest time to
                                                                               Time to identify and contain a breach by how the breach was identified
     identify and contain.
     Respondents required a mean time of
     320 days to identify and contain breaches
     disclosed by the attacker. This time frame                                               By disclosure from the attacker                   233                       87         320

     was 80 additional days or 28.2% longer
     compared to breaches identified internally,                                                       By a benign third party             203                     70                273

     which took a mean time of 241 days to
     identify and contain. The mean time to                                     By the organization’s security teams and tools            182                 59                     241

     identify and contain a breach disclosed by
     the attacker took 47 days or 15.9% longer                                                                                   0   50    100        150   200     250        300    350

     compared to breaches identified by a                                          MTTI        MTTC

     benign third party.


                                                                        Figure 14. Measured in days




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     Data breach lifecycle
     The data breach lifecycle is defined as the
     elapsed time between the initial detection
     of the breach and its containment. “Time
     to identify” describes the time, in days,
     it takes to discover an incident. “Time
     to contain” refers to the time, in days,
     it takes for an organization to resolve
     the situation and restore service after
     the breach has been detected. These
     two metrics help determine the
     effectiveness of an organization’s
     IR and containment processes.




                                                                        277 days
                                                                         Time to identify and contain a data breach




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     Figure 15. A shorter data breach lifecycle                          For a data breach lifecycle of fewer than
     continues to be associated with lower                               200 days, the 2023 value of USD 3.93
                                                                                                                             Cost of a data breach based on the
     data breach costs.                                                  million grew 5.1% from the previous year’s          breach lifecycle
     A shorter data breach lifecycle of fewer                            average cost of USD 3.74 million. For a data
     than 200 days was associated with an                                breach lifecycle of more than 200 days, the
     average cost of USD 3.93 million, while a                           2023 value of USD 4.95 million grew 1.9%             $6.00

     longer lifecycle of more than 200 days was                          from the previous year’s average cost of             $5.00
                                                                                                                                                         $4.95

     associated with an average cost of USD                              USD 4.86 million. The average cost savings                       $3.93
                                                                                                                              $4.00
     4.95 million. This reflects a 23% difference                        of USD 1.02 million reported in 2023
     and a cost savings of USD 1.02 million for                          reflects an 8.9% decrease from 2022’s                $3.00
     the shorter lifecycle.                                              cost savings of USD 1.12 million.
                                                                                                                              $2.00

     Looking back at previous years, the average                                                                              $1.00

     cost of a data breach based on the 200-                                                                                  $0.00
     day lifecycle has been relatively consistent,                                                                                       Lifecycle
                                                                                                                                        <200 days
     although it changed incrementally.



                                                                                                                        Figure 15. Measured in USD millions




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     Key cost factors
     The types of security technologies and                             This year, the Cost of a Data Breach Report
     practices employed within an organization                          considers several new factors, including
     are among many factors that influence the                          supply chain breaches, ASM tools, data
     mean cost of a data breach. This section                           security and protection software, endpoint
     quantifies 27 cost factors to help security                        detection and response (EDR) tools, threat
     and risk decision-makers understand the                            intelligence, proactive threat hunting,
     degree to which these factors amplify                              IR teams, and security orchestration,
     or mitigate costs. These factors aren’t                            automation and response (SOAR) tools.
     additive, so it’s not consistent with the



                                                                                                                      USD 5.36M
     research methodology to add multiple cost
     factors together to calculate the potential
     cost of a breach.

                                                                                                                      Average cost of a breach for organizations
                                                                                                                      with high levels of security skills shortage
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                                                                                                                  Impact of key factors on total cost of a data breach


                                                                                                                                                 DevSecOps approach          -$249,278
                                                                                                                                                       Employee training      -$232,867
                                                                                                                                                      IR plan and testing     -$232,008
                                                                                                                                  AI, machine learning–driven insights         -$225,627
                                                                                                                                                                 IR team       -$221,794
Figure 16. The impact of 27 factors on the     249,000 less than the 2023 mean cost                                                                            Encryption      -$221,593
mean cost of a data breach.                    of a data breach of USD 4.45 million or                            Security information and event management (SIEM)               -$202,347
The chart demonstrates the average cost        approximately USD 4.20 million.                                                                                SOAR tools         -$202,232
difference of breaches at organizations with                                                                                                   Proactive threat hunting          -$201,111
these cost-influencing factors compared        The biggest cost amplifiers were security
                                                                                                                                                       Threat intelligence        -$196,936
to the overall average data breach cost of     system complexity, security skills shortage,
                                                                                                                                                     Insurance protection         -$196,452
USD 4.45 million. Cost mitigators describe     and noncompliance with regulations. For
                                                                                                                                             Offensive security testing            -$187,703
those factors that are associated with a       example, breaches at organizations with
                                                                                                                               Identity and access management (IAM)                 -$180,358
lower-than-average breach cost, while cost     security system complexity had an average
                                                                                                                                                                EDR tools           -$174,267
amplifiers are associated with a higher-       cost of USD 241,000 more than the 2023
                                                                                                                                 Data security and protection software               -$170,412
than-average breach cost.                      mean cost of a data breach of USD 4.45
                                               million or approximately USD 4.69 million.                                                        Board-level oversight               -$167,818

The three factors that rank most effective                                                                                                                     ASM tools             -$162,278

as cost mitigators—those associated                                                                                                                      CISO appointed                    -$130,086

with the biggest cost reduction—are                                                                                                                                 MSSP                         -$73,082
the adoption of a DevSecOps approach,                                                                                                                  Remote workforce                                                          $173,074
employee training, and IR planning                                                                                                                   Supply chain breach                                                           $192,485
and testing. For example, breaches at                                                                                                 IoT or OT environment impacted                                                               $195,428
organizations with a DevSecOps approach                                                                                                        Third-party involvement                                                               $216,441
in place had an average cost that was USD                                                                                                        Migration to the cloud                                                               $218,362
                                                                                                                                      Noncompliance with regulations                                                                  $218,915
                                                                                                                                                Security skills shortage                                                               $238,637
                                                                                                                                           Security system complexity                                                                   $240,889

                                                                                                                                                                             -$300,000 -$200,000 -$100,000   Avg. cost $100,000 $200,000 $300,000


                                                                                                                  Figure 16. Measured in USD


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Figure 17. The three most impactful cost          Organizations with a high level of security
amplifiers out of 27 factors.                     skills shortage had a USD 5.36 million
                                                                                                                                                               Cost of a data breach for organizations with a high level
This chart compares organizations                 average cost, which was USD 910,000                                                                          versus low level of three cost-amplifying factors
with the highest levels of a top-ranking          higher than the average cost of a data
cost amplifier to those with the lowest           breach, a difference of 18.6%. Those with
level, which in some cases could mean             a high level of security system complexity                                                                   $6.00
                                                                                                                                                                               $5.36                    $5.28
no instance of that same factor. This             had a USD 5.28 million average cost, for                                                                     $5.00
                                                                                                                                                                                                                         $5.05

comparison differs from the prior analysis        a difference of USD 830,000 or 17.1%                                                                                                                          $3.84            $4.01
                                                                                                                                                               $4.00                   $3.78
(Figure 16) in which a high presence of           compared to the average cost of a data
these factors is compared to the mean.            breach. Organizations with a high level of                                                                   $3.00

There was a difference of USD 1.58 million        noncompliance with regulations showed                                                                        $2.00
or 34.6% between high levels and low              an average cost of USD 5.05 million, which
                                                                                                                                                               $1.00
levels of secrity skills shortage. A difference   exceeded the average cost of a data breach
of USD 1.44 million or 31.6% occurred             by USD 560,000, a difference of 12.6%.                                                                       $0.00
                                                                                                                                                                        Security skills shortage       Security system
between high levels and low levels of                                                                                                                                                                    complexity
security system complexity. And there                                                                                                                             High level       Low level or none
was a difference of USD 1.04 million or
23% between high levels and low levels
of noncompliance with regulations.
                                                                                                                                                        Figure 17. Measured in USD millions




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Figure 18. The three most impactful cost       Organizations with high levels of these cost
mitigators out of 27 factors.                  mitigators present had a significantly lower
                                                                                                                                                            Cost of a data breach for organizations with a high level
The chart compares organizations with          than average cost of a data breach. High-                                                                    versus low level of three cost-mitigating factors
the highest levels of a top-ranking cost       level DevSecOps adopters had an average
mitigator to those with the lowest level,      cost of USD 3.54 million—a difference
which in some cases could mean no              of USD 910,000 or 22.8% compared to                                                                          $6.00
                                                                                                                                                                                   $5.22                                       $5.18
instance of that same factor. The average      the overall average cost of a data breach.                                                                                                                  $5.11
                                                                                                                                                            $5.00
cost of a breach showed a difference           Organizations with a low usage of a
                                                                                                                                                            $4.00                                  $3.62               $3.68
of USD 1.68 million or 38.4% between           DevSecOps approach had an average cost                                                                                      $3.54

organizations with high levels and low         of USD 5.22 million, which was significantly                                                                 $3.00
levels of a DevSecOps approach. There          higher by a difference of USD 770,000                                                                        $2.00
was a difference of USD 1.49 million or        or 15.9% compared to the average cost
                                                                                                                                                            $1.00
34.1% between high levels and little to no     of a data breach.
IR planning and testing. And last, there was                                                                                                                $0.00
                                                                                                                                                                     DevSecOps approach        IR plan and testing   Employee training
a difference of USD 1.5 million or 33.9%
between high levels and low levels of                                                                                                                         High level       Low level or none

employee training.



                                                                                                                                                     Figure 18. Measured in USD millions




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     Ransomware and
     destructive attacks
     This year, ransomware and destructive
     attacks3 accounted for 24% and 25% of
     malicious attacks, respectively.
                                                                                                            25%
                                                                                                            Share of malicious
                                                                                                            attacks that rendered
     As in the 2022 report, we looked at the
                                                                                                            systems inoperable
     lifecycle of these types of breaches and
     the impact of paying a ransom compared
     to not paying a ransom. This study
     doesn’t include the cost of the ransom in
     calculating the total cost of the breach.
     In the 2023 report, for the first time, we
     examined the influence of involving law
     enforcement in the effort to contain a
     ransomware attack.




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                                                                                                                                                  Share of total breaches by type of malicious attack



                                                                                                                                                                            Destructive attack                                                    25%


                                                                                                                                                                                Ransomware                                                       24%
Figure 19. Nearly one-quarter of attacks    Figure 20. Ransomware attack costs
involved ransomware.                        increased significantly.                                                                              Attack on the business partner supply chain                                15%
Destructive attacks that left systems       At USD 5.13 million, the average cost of
inoperable accounted for one out of every   a ransomware attack in the 2023 report                                                                       Attack on the software supply chain                           12%
four attacks, and another 24% involved      increased 13% from the average cost of
ransomware. Business partner and            USD 4.54 million in the 2022 report. At                                                                                                              0%       5%     10%    15%        20%       25%         30%

software supply chain attacks accounted     USD 5.24 million, the average cost of a
for 15% and 12% of attacks, respectively.   destructive attack in the 2023 report also                                                            Figure 19. Percentages for each attack type shown are
                                                                                                                                                  out of total breaches; bars will not sum to 100%
                                            increased 2.3% from the average cost of
                                            USD 5.12 million in the 2022 report.



                                                                                                                                                  Cost of a ransomware or destructive attack



                                                                                                                                                   Destructive attack                                                                            $5.24


                                                                                                                                                  Ransomware attack                                                                              $5.13


                                                                                                                                                                    $0.00         $1.00           $2.00        $3.00     $4.00           $5.00           $6.00



                                                                                                                                                  Figure 20. Measured in USD millions




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     Figures 21 and 22. Organizations that
     involved law enforcement saw significant
                                                                               Share of ransomware attacks with             Cost of a ransomware attack by
     time and cost savings.                                                    law enforcement involved                     law enforcement involvement
     37% of ransomware victims opted not to
     involve law enforcement to help contain
     a ransomware breach, but those that did                                                                                 $6.00
     experienced a less costly ransomware                                                                                                                   $5.11
                                                                                                                             $5.00
     breach overall. The average cost of a                                                                                               $4.64

     ransomware breach was USD 5.11 million
                                                                                    37%                                      $4.00
     when law enforcement wasn’t involved and
     USD 4.64 million when law enforcement                                                                                   $3.00
     was involved, for a difference of 9.6%
     or USD 470,000.                                                                                            63%
                                                                                                                             $2.00


                                                                                                                             $1.00


                                                                                                                             $0.00
                                                                                 Law enforcement involved                            Law enforcement Law enforcement
                                                                                 Law enforcement not involved                            involved      not involved




                                                                       Figure 21. Share of all ransomware attacks     Figure 22. Measured in USD millions




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                                                Time to identify and contain a ransomware
                                                attack with law enforcement involvement
                                                Figure 23. Measured in days

Figure 23. Law enforcement helped                                                                                                                               226         80
shorten time to identify and contain
ransomware breaches.                                                                                                                                                             306
Total time to identify and contain a
ransomware breach was 11.4% or 33 days
shorter with law enforcement involvement,
at 273 days in total compared to 306 days.
The mean time to contain a ransomware
breach was 63 days or 23.8% shorter with
law enforcement involvement compared
to 80 days without. It’s clear that involving
law enforcement can help reduce the cost
and duration of a ransomware breach.




                                                                                                                                                                           273

                                                                                                                                                              210     63
                                                  MTTI       MTTC




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                                                                                                                                                   Impact of automated response playbooks or workflows for ransomware
                                                                                                                                                   on time to contain a ransomware breach



                                                                                                                                                   Didn’t have automated response
                                                                                                                                                                                                                                                 80
                                                                                                                                                            playbooks or workflows

Figure 24. Automated response playbooks     Figure 25. Paying the ransom led to                                                                          Had automated response
                                                                                                                                                                                                                                    68
or workflows cut down the time to contain   minimal cost savings.                                                                                         playbooks or workflows

a ransomware breach.                        Organizations that paid the ransom during
                                                                                                                                                                                     0   10      20   30       40   50      60     70       80        90
Among organizations that experienced        a ransomware attack achieved only a
                                                                                                                                                     MTTC
a ransomware attack, those that had         small difference in total cost, at USD 5.06
automated response playbooks or             million compared to USD 5.17 million, a
workflows designed specifically for         cost difference of USD 110,000 or 2.2%.                                                                Figure 24. Measured in days
ransomware attacks were able to contain     However, this calculation doesn’t include
them in 68 days or 16% fewer days           the cost of the ransom itself. Given the
compared to the average of 80 days for      high cost of most ransomware demands,
organizations without automated response    organizations that paid the ransom likely
                                                                                                                                                   Cost of a ransomware attack based on whether the ransom was paid
playbooks or workflows.                     ended up spending more overall than
                                            those that didn’t pay the ransom. In the
                                            2022 report, the total cost savings were
                                                                                                                                                                                                                                           $5.17
                                            USD 630,000, with a total cost difference                                                              Didn’t pay ransom
                                                                                                                                                                                                                                           $5.12
                                            of 13.1%, again not including the cost of
                                            the ransom itself. The data shows that                                                                                                                                                       $5.06
                                                                                                                                                        Paid ransom
                                            paying a ransom has become increasingly                                                                                                                                              $4.49
                                            less advantageous overall, with an 82.5%
                                            decrease in savings from the 2022 to                                                                                   $0.00         $1.00        $2.00        $3.00    $4.00          $5.00           $6.00

                                            2023 reports.                                                                                            2023        2022



                                                                                                                                                   Figure 25. Measured in USD millions (cost of ransom not included)




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                                                                                                                                                    Cost of a data breach due to a business partner supply chain compromise
Business partner supply
chain attacks                                                                                                                                            Business partner supply
                                                                                                                                                                                                                                                    $4.76
                                                                                                                                                              chain compromise
A business partner supply chain               Figures 26 and 27. A business partner
                                                                                                                                                    Not a business partner supply
compromise is a data breach that originates   supply chain compromise cost 11.8%                                                                               chain compromise
                                                                                                                                                                                                                                           $4.23
with an attack on a business partner. In      more and took 12.8% longer to identify
this year’s study, 15% of organizations       and contain than other breach types.                                                                                             $0.00      $1.00         $2.00         $3.00     $4.00              $5.00

identified a supply chain compromise as       The cost of a data breach due to a business
the source of a data breach.                  partner supply chain compromise averaged
                                                                                                                                                    Figure 26. Measured in USD millions
                                              USD 4.76 million, which was USD 530,000
                                              or 11.8% higher than the USD 4.23 million
                                              average cost of a data breach that was due
                                              to another cause.

                                              Organizations took an average of 233                                                                  Time to identify and contain a data breach based on occurrence
                                              days to identify and 74 days to contain a                                                             of a business partner supply chain compromise
                                              business partner supply chain compromise,
                                              for a total lifecycle of 307 days. That
                                              average lifecycle was 37 days or 12.8%                                                                     Business partner supply
                                                                                                                                                                                                    233                                   74         307
                                                                                                                                                              chain compromise
                                              longer than the average lifecycle of 270
                                              days for data breaches attributed to                                                                  Not a business partner supply
                                                                                                                                                                                                  206                          64                    270
                                              another cause.                                                                                                   chain compromise


                                                                                                                                                                                    0     50      100           150      200        250        300

                                                                                                                                                       MTTI        MTTC



                                                                                                                                                    Figure 27. Measured in days




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     Software supply chain attacks
     For the first time this year, the study also
     examined attacks that originated from a
     software supply chain attack in which an
                                                                                                            12%
                                                                                                            Share of data breaches
     attacker infiltrates a software vendor’s
                                                                                                            originated from a software
     network and deploys malicious code
                                                                                                            supply chain attack
     to compromise the software before the
     vendor sends it to its customers. The
     compromised software then attacks the
     customer’s data or system. In this year’s
     study, 12% of organizations identified a
     software supply chain attack as the source
     of a data breach.




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                                                                                                                                                    Cost of a data breach based on occurrence of a software
                                                                                                                                                    supply chain compromise



                                                                                                                                                         Software supply
                                                                                                                                                                                                                                         $4.63
                                                                                                                                                       chain compromise

Figures 28 and 29. Software supply chain      Although a supply chain compromise
compromises cost 8.3% more and took           originating from within the software supply                                                                                                                                             $4.26
8.9% longer to identify and contain than      chain is less costly than one originating
other breach types.                           from a business partner, both still cost
                                                                                                                                                                         $0.00     $1.00          $2.00         $3.00         $4.00           $5.00
The cost of a data breach due to a software   more and take longer than the average
supply chain compromise averaged USD          data breach.
4.63 million, which was USD 370,000 or                                                                                                              Figure 28. Measured in USD millions
8.3% higher than the USD 4.26 million
average cost of a data breach that was
due to another cause. A breach due to a
software supply chain compromise had
                                                                                                                                                    Time to identify and contain a data breach based on
an 8.9% longer lifecycle, at 294 days                                                                                                               occurrence of a software supply chain compromise
compared to 269, than data breaches
due to other causes.

                                                                                                                                                         Software supply
                                                                                                                                                                                            217                                77             294
                                                                                                                                                       chain compromise



                                                                                                                                                    Not a software supply
                                                                                                                                                                                           202                           67                   269
                                                                                                                                                       chain compromise


                                                                                                                                                                            0     50       100            150      200        250         300

                                                                                                                                                      MTTI        MTTC



                                                                                                                                                    Figure 29. Measured in days




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     Regulatory environments
     The research examined how the degree of
     data regulation affected the cost of a data
     breach. In environments with high levels of
                                                                                                            USD 250,000
                                                                                                            20% of organizations that experienced
     data regulation, 58% of costs continued to
                                                                                                            a data breach paid this much or more
     accrue after the first year. In low-regulation
                                                                                                            in fines
     environments, 64% of the costs associated
     with a breach were more likely to be
     resolved within the first year.

     The cost of a data breach tends to change
     in the time elapsed since the breach. There
     may be different costs associated with each
     stage of the breach as it’s identified and
     contained and as the compromised data is
     recovered or repaired.




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                                              Distribution over time of data breach costs in low-data versus high-data regulation environments                                 Distribution of data breach costs by
Figures 30a and 30b. Peak costs were                                                                                                                                           year in low-data versus high-data
incurred more than two years after a                                                                                                                                           regulation environments
data breach was identified in high-data       25%
regulation environments.
                                                                                     21%                                                                             21%
Organizations in low-regulation                                       20%                                                                                                      Time elapsed
                                              20%
environments took on nearly two-thirds                                                                                                                               18%
                                                                                                                                                                               since breach     Percentage of total cost

of their data breach costs in the first                               18%            16%                                                                   16%                                  2023        Low            High
year, whereas organizations in high-          15%                                                                 14%                                         15%
                                                                                                                                                                                                average     regulation     regulation
                                                                                     13%
regulation environments took on less                     15%          16%
                                                                                                                                                                               First year       51%         64%            42%
than half of their data breach costs in                                                              10%          10%
the first year. Data breach costs in low-     10%                                                                                9%
                                                         10%                                        10%                                                                        Second year      31%         32%            37%
regulation environments peaked at 21%                                                                             6%
                                                                                                                                 9%
of total costs accrued in the time frame of                                                                                      7%             4%
                                                                                                                                                           5%
                                               5%                                                                                                                     4%       Two-plus years   18%         4%             21%
6–9 months. Data breach costs in high-                   5%
                                                                                                                                                     3%
regulation environments peaked at 21%                                                                3%
                                                                                                                                                2%
of total costs accrued after the two-year      0%
mark. The bulk of data breach costs in                   0–3          3–6             6–9           9–12        12–15          15–18          18–21       21–24     >2 years   Figure 30b. Percentage of total costs over the years
                                                        months       months          months        months       months         months         months      months
a low-regulation environment spiked
                                                2023 average        Low regulation         High regulation
early on and tapered with time. In a high-
regulation environment, costs oscillated
and continued to rise two years after the     Figure 30a. Percentage of total costs accrued in three-month intervals
breach was identified.




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                                             Cost of a data breach for critical infrastructure
                                             industries versus other industries
                                             Figure 31. Measured in USD millions



Figure 31. Data breach costs for critical                                                                                                                                  $5.04
infrastructure industries exceed
USD 5 million.
Critical infrastructure organizations
included those in the financial
services, industrial, technology, energy,
transportation, communication, healthcare,
education and public sector industries.
These organizations incurred data breach
costs that were USD 1.26 million higher
than the average cost of USD 3.78 million
for organizations in other industries, a
difference of 28.6%. This USD 5.04 million
value also reflects a 4.6% increase of
USD 4.82 million over the 2022 reported
average cost of a data breach for critical
infrastructure industries.


                                                                                                                                                        $3.78
                                                                                                                                                        Other industries




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Figures 32 and 33. Fewer than one-third
of organizations incurred fines due to data
                                                      Did your organization incur any                                            Distribution of cost of fines incurred from a data breach
breaches, and 80% of fines amounted to                fines from the data breach?
USD 250,000 or less.
Of the organizations studied, 31% incurred
                                                                                                                                 30%
fines as a result of a data breach, and only
                                                                                                                                                                                     25%
20% of those fines exceeded USD 250,000.                                                                                         25%
A fine of USD 250,000 represented 5.6%                                                                                                                                                                  21%
                                                                                                                                                                  19%                                                       20%
                                                                                       31%
of the average total cost of a data breach                                                                                       20%

in the 2023 report.                                                                                                                             15%
                                                                                                                                 15%


                                                                                                                                 10%
                                                            69%
                                                                                                                                   5%


                                                                                                                                   0%
                                                                                                                                         Less than $25,000   $25,000–$50,000   $50,001–$100,000   $101,001–$250,000   More than $250,000
                                                         Incurred fines     No fines




                                               Figure 32. Share of all organizations                                     Figure 33. Among those that experienced fines, as measured in USD




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     Cloud breaches
     The cost and duration of a breach varied
     depending on where the data was stored.
     Most commonly, the breaches studied
                                                                                                           82%
                                                                                                           Share of breaches that
     included data that spanned multiple
                                                                                                           involved data stored in
     environments—including cloud and on
                                                                                                           cloud environments—
     premises—and breaches of this type also                                                               public cloud, private
     contributed to higher costs and longer time                                                           cloud or across multiple
     to identify and contain a data breach.                                                                environments




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                                                                                                                                                 Where was the breached data stored?



                                                                                                                                                 Across multiple types                                                            39%
                                                                                                                                                      of environments

                                                                                                                                                         On premises                                  18%
Figure 34. Breaches most commonly          Figure 35. Data breaches in public
impacted data stored across multiple       clouds and multiple environments                                                                               Public cloud                                            27%
environments.                              had higher costs.
The largest percentage of breaches,        In the 2023 report, the cost of data                                                                          Private cloud                          16%

39%, involved data stored across           breaches across multiple environments
                                                                                                                                                                         0%   5%    10%   15%     20%       25%   30%   35%     40%
multiple environments, followed by 27%     reached USD 4.75 million, the highest
of breaches that involved data stored in   cost of the environments analyzed, and
the public cloud. The number of breaches   17.6% higher than the USD 3.98 million                                                                Figure 34. Share of all breaches
occurring across multiple environments     cost of data breaches in a private cloud
surpassed the combined 34% of              environment, which was the lowest
breaches occurring only in private         cost of the environments analyzed. The
cloud or on-premises environments.         cost of data breaches across multiple
                                                                                                                                                 Cost of a data breach by storage location of breached data
                                           environments also exceeded the average
                                           cost of a data breach of USD 4.45 million
                                           by a margin of 6.5%.
                                                                                                                                                                                                                                  $4.75


                                                                                                                                                         On premises                                                    $3.99


                                                                                                                                                          Public cloud                                                          $4.57


                                                                                                                                                         Private cloud                                                  $3.98


                                                                                                                                                                    $0.00 $0.50 $1.00 $1.50 $2.00 $2.50 $3.00 $3.50 $4.00 $4.50 $5.00



                                                                                                                                                 Figure 35. Measured in USD millions




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     Figure 36. The use of public clouds and
     multiple environments also contributes
                                                                                Time to identify and contain a data breach by storage location of breached data
     to longer data breach lifecycles.
     The longest time to identify and contain
     a breach involved data stored across
                                                                                Across multiple types
     multiple environments, taking 291 days.                                         of environments
                                                                                                                         216                                  76     291

     This interval exceeded the shortest time to
     identify and contain a breach—which was                                              On premises              178                          54                   232

     235 days in a private cloud environment—
     by 56 days or 21.3%. It’s also worth noting                                          Public cloud                   207                             69          276
     that the use of multiple environments is
     the only model that exceeds the 2023                                                 Private cloud            178                          56                   235
     reported average time to identify and
     contain a data breach of 277 days by                                                                 0   50          100       150         200           250   300

     a margin of 14 days or 4.9%.                                                  MTTI         MTTC




                                                                        Figure 36. Measured in days




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     Mega breaches
     Mega breaches, characterized by more
     than one million compromised records, are
     relatively rare. But they exert a powerful
                                                                                                           USD 332M
                                                                                                           Average total cost for breaches of
     impact due to their outsized scope.
                                                                                                           50 million to 60 million records

     This year’s study included 20 organizations
     that endured the loss or theft of between
     1 million and 60 million records due to data
     breaches. The study deployed a distinct
     methodology to examine those mega
     breaches. They were considered separately
     from the study’s other 553 breaches,
     each including no more than 101,200
     lost or compromised records. For a full
     explanation of the research methodology,
     see the data breach FAQs at the end
     of this report.




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     Figure 37. The cost of mega breaches fell
     in the 2023 report.
                                                                                 Cost of a mega breach by number of records lost
     Across all breach size cohorts, the average
     cost of a mega breach fell to varying
     degrees. The highest percentage decrease                                    $400                                                                 $379          $387
     occurred in the 1 million to 10 million
                                                                                 $350                                                                                      $332
     cohort, with a 26.5% decrease from USD                                                                                             $316
                                                                                                                                                             $328
                                                                                                                                               $304
     49 million in the 2022 report to USD 36                                     $300
     million in the 2023 report. The smallest
                                                                                 $250                                     $241
     percentage decrease occurred in the 30                                                                                      $225

     million to 40 million cohort, with a 3.8%                                   $200                       $180
                                                                                                                   $166
     decrease from USD 316 million in the
                                                                                 $150
     2022 report to USD 304 million in the
     2023 report. In the 50 million to 60 million                                $100
     cohort, the 2022 reported cost of USD 387                                               $49
                                                                                  $50               $36
     million decreased by USD 55 million
     or 14.2% to equal USD 332 million in                                           $0
                                                                                               1M–10M       10M–20M       20M–30M       30M–40M        40M–50M      50M–60M
     the 2023 report.
                                                                                    2022         2023




                                                                         Figure 37. Measured in USD millions




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     Security investments
     This section examines the security
     investment strategies that organizations
     adopted after experiencing a data breach.
                                                                                                           51%
                                                                                                           Percentage of
     We’ll explore how often organizations                                                                 organizations increasing
     increased spending after a breach as well                                                             security investments
     as how they chose to allocate funds.                                                                  after a breach




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Figure 38. Respondents were split on
increasing security investment after
                                                    Following the data breach, will
a breach.                                           your organization increase its
Even as the global cost of a data breach            security investment?
increased, research participants reported
divided perspectives on increasing security
investments after an incident. 51% of
respondents indicated they planned
for additional security spending after
the breach.

                                                       49%
                                                                                           51%




                                                       Will increase security investment
                                                       Won’t increase security investment




                                              Figure 38. Percentage of all organizations




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     Figure 39. IR planning and testing and
     employee training saw significant
                                                                                Most common investment types among those increasing security
     post-breach investment.
                                                                                investments following a breach
     Of the 51% that increased spending after
     a breach, organizations’ most common
     investment was in IR planning and testing at
                                                                                                            IR plan and testing                                                       50%
     50%, followed closely by employee training
     at 46%. Threat detection and response                                                                   Employee training                                                  46%
     technologies placed third at 38%, making
                                                                                 Threat detection and response technologies                                             38%
     them the top-ranked technology or tool
     investment considered in this section.                                                         Offensive security testing                                        35%
     Notably, these three investments map
     closely to top factors associated with lower                                                                          IAM                                  32%

     data breach costs that are explored in this                                                   Managed security services                                   31%
     year’s key cost factors section. At only 18%
     of respondents, insurance protection was                                                Data security or protection tools                        25%

     the least common investment after a breach.
                                                                                                           Insurance protection              18%

                                                                                                                                  0%   10%   20%         30%            40%      50%




                                                                        Figure 39. Share among organizations that are increasing investment; more than one response permitted




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Security AI and automation
With security AI and automation use              processes as opposed to its level of
cases for the security industry advancing,       deployment—ranging from not deployed
this report examines the impact of these         to partially or fully deployed—in prior
technologies on data breach costs and            years’ data.
timelines. Examples include the use of
AI, machine learning, automation and             – “Extensive use” refers to the integration
orchestration to augment or replace human          of security AI and automation throughout
intervention in detection and investigation        operations, including several different
of threats as well as the response and             tool sets and capabilities.
containment process. On the opposite
end of the spectrum are processes driven         – “Limited use” refers to applying AI
by manual inputs, often across dozens of           to just one or two use cases within
tools and complex, nonintegrated systems,          security operations.
without data shared between them.
                                                 – “No use” refers to security processes



                                                                                                                                                       108 days
Though this is the sixth year of investigating     that are driven solely by manual inputs.
the impact of AI and automation on
cybersecurity, this year we’re introducing
new criteria that considered AI’s permeation
                                                                                                                                                       Organizations with extensive use of security AI
throughout an organization’s security
                                                                                                                                                       and automation identified and contained a data
                                                                                                                                                       breach 108 days faster than organizations
                                                                                                                                                       with no use.




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Figure 40. A 61% majority of                  Figure 41. Extensive security AI and
organizations employ some level of            automation use delivered cost savings
                                                                                                                       State of security AI and automation                    Cost of a data breach by security AI
security AI and automation.                   of nearly USD 1.8 million.                                               comparing three usage levels                           and automation usage level
Only 28% of organizations extensively         Organizations with extensive use of security
used security AI and automation tools in      AI and automation demonstrated the
their cybersecurity processes, while 33%      highest cost savings comparatively, with                                 45%                                                    $6.00
                                                                                                                                                              39%                                                   $5.36
had limited use. That leaves nearly 4 in      an average cost of a data breach at USD                                  40%
                                                                                                                                                                              $5.00
10 relying solely on manual inputs in their   3.60 million, which was USD 1.76 million                                 35%                          33%
                                                                                                                                                                                                        $4.04
security operations.                          less and a 39.3% difference compared to                                  30%          28%                                       $4.00      $3.60
                                              no use. Even organizations with limited use                              25%
                                              of security AI and automation measured                                   20%
                                                                                                                                                                              $3.00

                                              an average cost of a data breach of USD                                  15%                                                    $2.00
                                              4.04 million, which was USD 1.32 million
                                                                                                                       10%
                                              less or a 28.1% difference compared to no                                                                                       $1.00
                                                                                                                         5%
                                              use. However, organizations with no use of
                                                                                                                         0%                                                   $0.00
                                              security AI and automation experienced                                           Extensive use    Limited use   No use                  Extensive use   Limited use   No use
                                              an average cost of a data breach of USD
                                              5.36 million. This is 18.6% more than the
                                              2023 average cost of a data breach of
                                              USD 4.45 million.
                                                                                                                 Figure 40. Percentage of organizations per usage level   Figure 41. Measured in USD millions




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Figure 42. Extensive security AI and       it took organizations with no use. Limited
automation reduced the time to identify    use also made a significant impact, with
                                                                                                                       Time to identify and contain a data breach by security AI and automation use level
and contain a breach by more than          an average time to identify and contain a
100 days.                                  breach in 234 days, which was 88 days
Respondents from organizations             shorter than organizations with no use.
that extensively used security AI and      It’s clear that even a limited effort to                                    Extensive use                    167                              47                                214
automation were able to identify and       integrate security AI and automation into
contain a breach in 214 days, which was    security workflows can offer a significant                                    Limited use                     172                                  62                           234
108 days shorter than those with no use.   acceleration in the time to identify and
This means identifying and containing a    contain a breach as well as a sizable
                                                                                                                              No use                                 237                                       85          322
breach with extensive use of security AI   reduction in costs.
and automation took just 66% of the time
                                                                                                                                       0      25   50   75     100     125   150   175    200      225   250   275   300   325

                                                                                                                          MTTI         MTTC




                                                                                                               Figure 42. Measured in days




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Incident response
IR strategies and tactics have been
instrumental in reducing the impact of data
breaches. The most effective IR strategy
                                                                                                                                                   54 days
                                                                                                                                                   Organizations with both an IR team and IR plan
for reducing the duration of a data breach
                                                                                                                                                   testing identified breaches 54 days faster than
was to combine formation of an IR team
                                                                                                                                                   those with neither.
with testing of the IR plan. However, some
organizations pursued only one of those
two strategies. As a standalone effort, IR
plan testing was more effective than only
forming an IR team in reducing the total
time to identify and contain the breach.




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     Figure 43. The combined IR strategy
     saved 54 days in identifying and
                                                                                                           Time to identify and contain a data breach by IR team formation and testing
     containing a breach.
     The dual strategy of forming an IR team
     and testing an IR plan demonstrated a
                                                                                                           Neither IR team nor IR plan testing             216                      90         306
     shorter time, 252 days, to identify and
     contain a data breach compared to 306                                                                           Formation of an IR team              208                     80           288
     days of employing neither approach, a
                                                                                                                        Testing of the IR plan            196                62                258
     difference of 54 days or 19.4%. Testing the
     IR plan without forming a team was nearly                                                               Both IR team and IR plan testing             194                58                252
     as effective, resulting in a difference of
                                                                                                                                                 0   50   100    150   200        250    300
     48 days or 17%.
                                                                                                              MTTI        MTTC




                                                                                                 Figure 43. Measured in days




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     Threat intelligence
     New to the report this year is the impact
     of threat intelligence services on the
     mean time to identify a breach. Threat
     intelligence services provide security
     leaders with information and insights
     about cyberthreats and vulnerabilities to
     help them improve their organization’s
     security posture.




                                                                        28 days
                                                                         Organizations using threat
                                                                         intelligence identified
                                                                         breaches 28 days faster.




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02   Complete findings




                                                                        Time to identify a data breach using threat intelligence
                                                                        Figure 44. MTTI measured in days




     Figure 44. Threat intelligence reduced                                                                216
     breach identification time.                                                                           Doesn’t use threat intelligence
     This year’s research showed that threat
     intelligence users uncovered breaches
     in 13.9% less time than those without
                                                                        188
                                                                        Uses threat intelligence
     a threat intelligence investment, a
     difference of 28 days. Compared to
     this year’s global MTTI of 204 days,
     organizations employing threat intelligence
     services were able to identify breaches in
     8.2% or 16 days less time. Respondents
     that did not use threat intelligence took
     5.7% or 12 days longer than the global
     average to identify breaches.




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     Vulnerability and risk
     management
     New this year, the research examined
     how organizations prioritized risks and
     vulnerabilities and how this impacted the
                                                                                                           USD 3.98M
                                                                                                           Cost of a data breach for organizations that
     cost of a data breach. Organizations with                                                             deployed robust risk-based analysis
     more proactive and risk-based vulnerability
     management, such as vulnerability
     testing, penetration testing or red teaming,
     experienced lower than average data
     breach costs compared to organizations
     that relied solely on the industry standard
     Common Vulnerabilities and Exposures
     (CVE) glossary and the Common
     Vulnerability Scoring System (CVSS).
     Generally, proactive risk management
     efforts involve the organization’s IT
     security team adopting the perspective of
     a potential attacker to determine which
     vulnerabilities are exploitable and can
     cause the most harm.
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     Figures 45 and 46. Organizations that
     prioritize activities beyond CVE score
                                                                                  How does your organization manage        Cost of a data breach by vulnerability-
     experienced less costly breaches.                                            vulnerability prioritization?            management prioritization approach
     More than one-third of organizations
     or 36% relied solely on CVE scoring to
     prioritize vulnerabilities, while the majority                                                                        $5.00
                                                                                                                                        $4.78

     of organizations or 64% used more involved
                                                                                                                                                             $3.98
     risk-based analysis. The 2023 research                                                                                $4.00
     showed a significant difference
                                                                                                                 36%
     in the cost of data breaches between these                                                                            $3.00
     two groups. Organizations that deployed
     more intensive, risk-based analysis                                                                                   $2.00
     experienced an average cost of a data                                             64%

     breach of USD 3.98 million, a difference                                                                              $1.00
     of 18.3%, compared to USD 4.78 million
     for organizations that relied on CVE                                                                                  $0.00
     scores only.                                                                                                                   CVE score only     Other risk-based
                                                                                     CVE score only
                                                                                                                                                     analysis, for example,
                                                                                     Other risk-based analysis                                        based on real-world
                                                                                                                                                            attacks




                                                                         Figure 45. Percentage of all organizations    Figure 46. Measured in USD millions




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Attack surface management
ASM is a set of processes that aids in       Figure 47. ASM helped accelerate total
the discovery, analysis, remediation and     time to identify and contain a data breach
                                                                                                                       Time to identify and contain a data breach by use of an ASM solution
monitoring of an organization’s potential    by nearly 12 weeks.
attack surfaces or vulnerabilities.          Without an ASM solution, organizations
Organizations that deployed an ASM           took 260 days to identify a data breach
solution were able to identify and contain   and another 77 days to contain it, for a                                   Doesn’t have ASM solution                   260                             77     337
data breaches in 75% of the time of those    total of 337 days or about 11 months.
without an ASM solution.                     Organizations with an ASM solution
                                             identified the breach in 193 days and                                                Has ASM solution            193                      61                  254
                                             contained it in 61 days. The 254-day total
                                             time to identify and contain a breach
                                                                                                                                                     0   50   100         150    200          250   300   350
                                             represented an acceleration of 83 days or
                                                                                                                           MTTI        MTTC
                                             about 12 weeks so the data breaches were
                                             identified and contained in 75% of the time
                                             taken by data breaches at organizations
                                             without ASM solutions.
                                                                                                                Figure 47. Measured in days




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Managed security
service providers
For the first time, our research explored       Figure 48. Organizations with
the impact that partnering with an MSSP         MSSPs experienced a 21% shorter
                                                                                                                           Time to identify and contain a data breach when using an MSSP
had on the time to identify and contain         breach lifecycle.
a breach. MSSPs offer organizations the         In the 2023 report, organizations that had
ability to outsource security monitoring and    an MSSP were able to identify and contain
management, often using high-availability       breaches in 80% of the time of those                                          No MSSP                              232                                78         310
security operations centers to provide          without. Organizations that worked with
around-the-clock services. MSSPs can            an MSSP identified breaches 16 days faster
help organizations enhance their security       or an 8.2% shorter identification time than                                 Using MSSP                     188                             63                    251
posture without increasing head count or        the 2023 reported global average of 204
investing in training for internal resources.   days. Those that didn’t took 28 days longer
                                                                                                                                         0            50     100         150        200         250        300
                                                or 12.8% longer. Containment times with
                                                no MSSP were five days longer or 6.6%                                          MTTI          MTTC

                                                longer than the 2023 reported global
                                                average of 73 days. Containment times
                                                with MSSP assistance were 10 days faster
                                                                                                                   Figure 48. Measured in days
                                                or 14.7% faster.




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03

Recommendations to help
reduce the cost of a data breach
In this section, IBM Security outlines steps                                                             1 Build security into every stage
                                                                                                           of software development and
organizations can take to help reduce the financial
                                                                                                                 deployment—and test regularly
and reputational impacts of a data breach. Our
recommendations include successful security
                                                                                                         2 Modernize data protection
                                                                                                           across hybrid cloud
approaches that are associated with reduced costs
and lower times to identify and contain breaches.
                                                                                                         3       Use security AI and automation
                                                                                                                 to increase speed and accuracy


                                                                                                         4 Strengthen resiliency by
                                                                                                           knowing your attack surface
                                                                                                                 and practicing IR




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03                                              Recommendations to help reduce
                                                the cost of a data breach




1
Build security into every stage of software     Organizations of all types should look to                          Application testing or penetration testing
development and deployment—and                  ensure that security is at the forefront of                        from the perspective of an attacker can
test regularly                                  the software they’re developing as well                            also give organizations the opportunity to
Regulatory requirements continue to             as commercial off-the-shelf software that                          identify and patch vulnerabilities before
become more intricate, especially as            they’re deploying. Application developers                          they turn into breaches. No technology
technology becomes more intertwined             must continue to accelerate the adoption                           or application will ever be fully secure,
with everyday activities and software           of the principles of secure by design and                          and adding more features introduces new
becomes more feature rich and complex.          secure by default to ensure that security                          risks. Ongoing application testing can help
A DevSecOps approach—the top cost               is a core requirement that’s considered                            organizations identify new vulnerabilities.
mitigator in a special analysis of 27 factors   during the initial design phase of digital
in the 2023 report—will be essential to         transformation projects and not simply
building security into any tools or platforms   addressed after the fact. The same
an organization depends on to engage its        principles are being applied to cloud
workforce or its customers.                     environments to support cloud-native app
                                                development that makes a serious effort to
                                                protect user privacy and minimize attack
                                                surfaces.




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03                                           Recommendations to help reduce
                                             the cost of a data breach




2
Modernize data protection across             In the wake of these challenges, gaining                            Additionally, newer technologies such as     As organizations continue to move further
hybrid cloud                                 visibility and control of data spread across                        data security posture management can         into hybrid multicloud operations, it’s
Data is being created, shared and accessed   hybrid cloud should be a top priority for                           help find unknown and sensitive data         essential to deploy strong identity and
at unprecedented scale across multicloud     organizations of all types and should                               across the cloud, including structured       access management (IAM) strategies that
environments. Fast-paced adoption of         include a focus on strong encryption,                               and unstructured assets within cloud         include technologies such as multifactor
new cloud applications and services          data security and data access policies.                             service providers, software as a service     authentication (MFA), with particular focus
is compounding the risk of “shadow           Companies should seek data security and                             (SaaS) properties and data lakes. This can   on managing privileged user accounts that
data”—sensitive data not being tracked       compliance technologies that work on all                            help identify and mitigate vulnerabilities   have an elevated access level.
or managed—increasing security and           platforms, allowing them to protect data                            in underlying data store configurations,
compliance risks. The majority (82%) of      as it moves across databases, applications                          entitlements and data flows.
data breaches in this report involved data   and services deployed across hybrid cloud
stored in cloud environments, and 39%        environments. Data activity–monitoring
of breaches included data that spanned       solutions can help ensure proper controls
multiple types of environments. The          are in place while actively enforcing
cost and risk of these data breaches are     these policies—such as early detection of
compounded by an ever-evolving matrix        suspicious activity and blocking real-time
of regulations and stiff penalties for       threats to critical data stores.
noncompliance.




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03                                            Recommendations to help reduce
                                              the cost of a data breach




3
Use security AI and automation to             using security AI and automation across                             When applying AI within your security         Organizations can also benefit from an
increase speed and accuracy                   threat detection and response tools can                             operations, look for technologies that        approach that tightly integrates core
In the 2023 report, only 28% of               help analysts detect new threats more                               offer trusted and mature use cases with       security technologies for smoother
organizations used security AI and            accurately and contextualize and triage                             demonstrated accuracy, effectiveness and      workflows and the ability to share
automation extensively in their operations,   security alerts more effectively. These                             transparency to eliminate potential bias,     insights across common data pools. Chief
which means many organizations have a         technologies can also automate portions                             blind spots or drift. Organizations should    information security officers (CISOs) and
significant opportunity to improve their      of the threat investigation process or                              plan an operational model for AI adoption     security operations (SecOps) leaders can
speed, accuracy and efficiency. Extensive     recommend actions to speed response.                                that supports continuous learning as          also use threat intelligence reports to help
use of security AI and automation delivered   Additionally, AI-driven data security and                           threats and technology capabilities evolve.   with pattern recognition and threat visibility
nearly USD 1.8 million in data breach         identity solutions can help drive a proactive                                                                     for emerging threats.
cost savings and accelerated the time to      security posture by identifying high-
identify and contain a breach by more         risk transactions, protecting them with
than 100 days compared to organizations       minimal user friction and stitching together
with no use.                                  suspicious behaviors more effectively.

Security teams can benefit from having
security AI and automation embedded
throughout their tool sets. For example,




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03                                             Recommendations to help reduce
                                               the cost of a data breach




4
Strengthen resiliency by knowing               Not only was IR planning and testing                               Lastly, organizations should look to
your attack surface and practicing IR          a top 3 cost mitigator in the 2023                                 implement network segmentation
Understand your exposure to the attacks        report, but the data also showed that                              practices to limit the spread of attacks
most relevant to your industry and             organizations with high levels of these                            and the extent of damage they can cause,
organization, and prioritize your security     countermeasures in place incurred USD                              strengthening overall resiliency and
strategy accordingly. Tools such as ASM or     1.49 million lower data breach costs                               reducing recovery efforts.
techniques such as adversary simulation        compared to organizations with low levels
can help organizations gain an attacker-       or none, and they resolved incidents 54                            Recommendations for security practices
informed perspective into their unique risk    days faster. Form a dedicated IR team,                             are for educational purposes and don’t
profile and vulnerabilities, including which   draft IR playbooks and regularly test IR                           guarantee results.
vulnerabilities are readily exploitable.       plans in tabletop exercises or simulated
                                               environments such as a cyber range.
Additionally, having a team in place that’s    Having an IR vendor on retainer can also
already versed in the right protocols and      help speed the time to respond to a breach.
tools to respond to an incident has been
shown to significantly reduce costs and
the time to identify and contain the breach.




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04

Organization demographics

This year’s study examined 553 organizations of
various sizes across 16 countries and geographic                                                        18 years
regions and 17 industries. This section explores                                                         The United States has been a part of
                                                                                                         the Cost of a Data Breach Report for
the breakdown of organizations in the study                                                              18 years, the longest of all countries
by geography and industry and defines the                                                                or regions involved.

industry classifications.




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04   Organization demographics




                                                                               Global study at a glance

     Geographic demographics                                                                              2023                             2023 USD           Years
                                                                               Countries                           Percentage   Currency
                                                                                                          sample                           conversion rate7   studied
     The 2023 study was conducted across                                       ASEAN                      23       4%           SGD        1.3294             7
     16 different countries and regions.
                                                                               Australia                  24       4%           AUD        1.4916             14

                                                                               Brazil                     43       8%           BRL        5.0702             11

                                                                               Canada                     26       5%           CAD        1.3525             9

                                                                               France                     34       6%           EUR        0.9198             14

                                                                               Germany                    45       8%           EUR        0.9198             15

                                                                               India                      51       9%           INR        82.19              12

                                                                               Italy                      24       4%           EUR        0.9198             12

                                                                               Japan                      42       8%           JPY        132.75             12

                                                                               Latin America4             23       4%           MXN        18.025             4

                                                                               Middle East5               36       7%           SAR        3.7037             10

                                                                               Scandinavia6               22       4%           NOK        10.4445            5

                                                                               South Africa               21       4%           ZAR        17.73              8

                                                                               South Korea                23       4%           ZRW        1303.8             6

                                                                               United Kingdom             49       9%           GBP        0.8085             16

                                                                               United States              67       12%          USD        1.00               18

                                                                               Total                      553      100%




                                                                       Figure 49. Table of all countries studied



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04                                          Organization demographics




                                                                                                                   Distribution of the sample by industry



                                                                                                                                                                                        1% 1%
Industry demographics
The selection of 17 industries has been     Five industries together                                                   Financial
                                                                                                                       Professional services
included in the study for multiple years.   accounted for 55% of                                                       Technology                                             2%
                                                                                                                                                                                   2%
                                                                                                                                                                                        2%
                                                                                                                                                                                                  14%
                                            organizations sampled                                                      Industrial                                   4%

                                            in this year’s study.                                                      Energy
                                                                                                                                                               4%
                                                                                                                       Public sector



                                            14%
                                                                                                                       Consumer
                                                                                                                                                          5%
                                                           Financial                                                   Retail
                                                                                                                       Transportation                                                                     12%


                                            12%
                                                                                                                       Communications
                                                                                                                                                      5%
                                                           Services                                                    Hospitality
                                                                                                                       Pharmaceuticals

                                            11%            Technology
                                                                                                                       Entertainment
                                                                                                                       Education
                                                                                                                                                         6%

                                                                                                                                                                                                         11%

                                            10%
                                                                                                                       Media

                                                           Industrial                                                  Research
                                                                                                                                                               7%
                                                                                                                       Healthcare


                                            8%             Energy                                                                                                        7%                        10%

                                                                                                                                                                                             8%




                                                                                                                   Figure 50. Percentage of industries




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04                     Organization demographics




Industry definitions
                       Healthcare                                                           Education                                      Consumer
                       Hospitals and clinics                                                Public and private universities and colleges   Manufacturers and distributors
                                                                                            and training and development companies         of consumer products
                       Financial
                       Banking, insurance and investment                                    Services                                       Media
                       companies                                                            Professional services such as legal,           Television, satellite, social media
                                                                                            accounting and consulting firms                and internet
                       Energy
                       Oil and gas companies, utilities and                                 Entertainment                                  Hospitality
                       alternative energy producers and suppliers                           Movie production, sports, gaming               Hotels, restaurant chains and cruise lines
                                                                                            and casinos
                       Pharmaceuticals                                                                                                     Retail
                       Pharmaceuticals including biomedical                                 Transportation                                 Brick and mortar and e-commerce
                       life sciences                                                        Airlines, railroads and trucking and
                                                                                            delivery companies                             Research
                       Industrial                                                                                                          Market research, think tanks and research
                       Chemical processing and engineering                                  Communications                                 and development (R&D)
                       and manufacturing companies                                          Newspapers, book publishers and public
                                                                                            relations and advertising agencies             Public
                       Technology                                                                                                          Federal, state and local government
                       Software and hardware companies                                                                                     agencies and nongovernmental
                                                                                                                                           organizations (NGOs)




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05

Research methodology

To preserve confidentiality, the benchmark                       The numerical value obtained from the                                     We limited the scope of data breach cost
                                                                 number line, rather than a point estimate                                 factors to known categories that apply to a
instrument didn’t capture any company-specific
                                                                 for each presented cost category,                                         broad set of business operations involving
information. Data collection methods excluded                    preserved confidentiality and ensured                                     personal information. We chose to focus
actual accounting information and instead relied                 a higher response rate. The benchmark                                     on business processes instead of data
                                                                 instrument also required respondents to                                   protection or privacy compliance activities
on participants estimating direct costs by marking               provide a second separate estimate for                                    because we believed the process study
a range variable on a number line. Participants                  indirect and opportunity costs.                                           would yield better-quality results.

were instructed to mark the number line in one                   In the interest of maintaining a manageable
spot between the lower and upper limits of a range               data set for benchmarking, we included
                                                                 only those cost activity centers with a
for each cost category.
                                                                 crucial impact on data breach costs.
                                                                 Based on discussions with experts, we
                                                                 chose a fixed set of cost activities. After
                                                                 collecting benchmark information, we
                                                                 carefully reexamined each instrument for
                                                                 consistency and completeness.




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05                                           Research methodology




How we calculate the cost
of a data breach
To calculate the average cost of a data      Detection and escalation                                            Post-breach response                        Lost business
breach, this research excluded very small    Activities that enable a company to detect                          Activities to help victims of a breach      Activities that attempt to minimize the
and very large breaches. Data breaches       the breach, including:                                              communicate with the company and            loss of customers, business disruption
examined in the 2023 report ranged in size                                                                       conduct redress activities to victims       and revenue losses, including:
between 2,160 and 101,200 compromised        – Forensic and investigative activities                             and regulators, including:
records. We used a separate analysis to      – Assessment and audit services                                                                                 – Business disruption and revenue
examine the costs of mega breaches; that     – Crisis management                                                 – Help desk and inbound communications        losses due to system downtime
methodology is explained further in the      – Communications to executives                                      – Credit monitoring and identity            – Cost of losing customers
“Data breach FAQs” section of this report.     and boards                                                          protection services                         and acquiring new customers
                                                                                                                 – Issuing of new accounts or credit cards   – Reputational damage and
This research used activity-based            Notification                                                        – Legal expenditures                          diminished goodwill
costing, which identifies activities and     Activities that enable the company to notify                        – Product discounts
assigns a cost according to actual use.      data subjects, data protection regulators                           – Regulatory fines
Four process-related activities drive a      and other third parties, including:
range of expenditures associated with
an organization’s data breach: detection     – Emails, letters, outbound calls or general
and escalation, notification, post-breach      notices to data subjects
response and lost business.                  – Determination of regulatory
                                               requirements
                                             – Communication with regulators
                                             – Engagement of outside experts




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05                                             Research methodology




Data breach FAQs
What’s a data breach?                          and other PII, or a health record with                             How do you calculate the average cost of     This research represented only events
A breach is defined as an event in             the policyholder’s name and payment                                a data breach?                               directly relevant to the data breach
which records containing personally            information.                                                       We collected both the direct and indirect    experience. Regulations such as the
identifiable information (PII); financial or                                                                      expenses incurred by the organization.       General Data Protection Regulation (GDPR)
medical account details; or other secret,      How do you collect the data?                                       Direct expenses included engaging            and the California Consumer Privacy Act
confidential or proprietary data are           Our researchers collected in-depth                                 forensic experts, outsourcing hotline        (CCPA) may encourage organizations to
potentially put at risk. These records can     qualitative data through over 3,475                                support and providing free credit-           increase investments in their cybersecurity
be in electronic or paper format. Breaches     separate interviews with individuals at 553                        monitoring subscriptions and discounts       governance technologies. However, such
included in the study ranged from 2,200 to     organizations that suffered a data breach                          for future products and services. Indirect   activities didn’t directly affect the cost
102,000 compromised records.                   between March 2022 and March 2023.                                 costs included in-house investigations       of a data breach for this research.
                                               Interviewees included IT, compliance and                           and communications along with the
What’s a compromised record?                   information security practitioners familiar                        extrapolated value of customer loss          For consistency with prior years, we used
A record is information that reveals           with their organization’s data breach and                          resulting from turnover or diminished        the same currency translation method
confidential or proprietary corporate,         the costs associated with resolving the                            customer acquisition rates.                  rather than adjusting accounting costs.
governmental or financial data, or             breach. For privacy purposes, we didn’t
identifies an individual whose information     collect organization-specific information.
has been lost or stolen in a data breach.
Examples include a database with an
individual’s name, credit card information




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How does benchmark research differ from         each event featured 101,200 or fewer                                In total, we performed more than 250,000
survey research?                                compromised records. To measure the                                 trials. The grand mean of all sample means
The unit of analysis in the Cost of a Data      impact of mega breaches that involve one                            provided a most likely outcome at each size
Breach Report was the organization. In          million or more records, the study instead                          of data breach, ranging from 1 million to 60
survey research, the unit of analysis is the    uses a simulation framework based on a                              million compromised records.
individual. We recruited 553 organizations      sample of 20 events of that size.
to participate in this study.                                                                                       Are you tracking the same organizations
                                                Why did you use simulation methods to                               each year?
Can the average per-record cost be used         estimate the cost of a mega data breach?                            Each annual study involves a different
to calculate the cost of breaches involving     The sample size of 20 companies that                                sample of companies. To be consistent
millions of lost or stolen records?             experienced a mega breach was not large                             with previous reports, we recruit and
It’s not consistent with this research to use   enough to support a statistically significant                       match companies each year with similar
the overall cost per record as a basis for      analysis using the study’s activity-based                           characteristics, such as the company’s
calculating the cost of single or multiple      cost methods. To remedy this issue, we                              industry, head count, geographic footprint
breaches totaling millions of records. The      deployed Monte Carlo simulations to                                 and size of data breach. Since starting this
per-record cost is derived from our study       estimate a range of possible, meaning                               research in 2005, we have studied the data
of hundreds of data breach events in which      random, outcomes through repeated trials.                           breach experiences of 5,580 organizations.




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05                                             Research methodology




Research limitations
Our study used a confidential and              Sampling-frame bias                                                 Unmeasured factors                             Currency conversions
proprietary benchmark method that has          Because our sampling frame was                                      We omitted variables from our analyses         The conversion from local currencies to
been successfully deployed in earlier          judgmental, the quality of results was                              such as leading trends and organizational      the US dollar deflated average total cost
research. However, the inherent limitations    influenced by the degree to which the                               characteristics. The extent to which omitted   estimates in other countries. For purposes
with this benchmark research need to           frame was representative of the population                          variables might explain benchmark results      of consistency with prior years, we decided
be carefully considered before drawing         of companies being studied. We believe                              can’t be determined.                           to continue to use the same accounting
conclusions from findings.                     that the current sampling frame was biased                                                                         method rather than adjust the cost. It’s
                                               toward companies with more mature                                   Extrapolated cost results                      important to note that this issue may
Nonstatistical results                         privacy or information security programs.                           Although certain checks and balances can       affect only the global analysis because all
Our study drew upon a representative,                                                                              be incorporated into the benchmark             country-level results are shown in local
nonstatistical sample of global entities.      Company-specific information                                        process, it’s always possible that             currencies. The current real exchange rates
Statistical inferences, margins of error and   The benchmark didn’t capture company-                               respondents didn’t provide accurate or         used in this research report were published
confidence intervals can’t be applied to       identifying information. Individuals could                          truthful responses. In addition, the use       by the Federal Reserve on 31 March 2023.
this data, given that our sampling methods     use categorical response variables to                               of cost extrapolation methods rather
weren’t scientific.                            disclose demographic information about                              than actual cost data may inadvertently
                                               the company and industry category.                                  introduce bias and inaccuracies.
Nonresponse
Nonresponse bias wasn’t tested, so
it’s possible that companies that didn’t
participate are substantially different in
terms of underlying data breach cost.




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06

About Ponemon Institute
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